                Case 3:03-cr-05426-RBL         Document 155         Filed 12/13/05      Page 1 of 2



 1                                                                  HONORABLE RONALD B. LEIGHTON
 2
 3
 4
 5
 6
 7
 8                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 9                                             AT TACOMA
10     UNITED STATES OF AMERICA,
11                     Plaintiff-Appellee,                 D.C. No. CR03-5426 RBL
12                                                         Appeals No. 04-30405
                       v.
13     RICHARD T. BROWN,                                   PROCEDURAL ORDER
14                     Defendant-Appellant..
15
16
            This case comes before the court for consideration of re-sentencing pursuant to the remand of the
17
     Ninth Circuit Court of Appeals and United States v. Ameline, 409 F.3d 1073 (9th Cir. 2005). A clarifying
18
     procedural order should now be entered.
19
            In accord with Ameline, each party may file a pleading addressing the sole question of whether the
20
     sentence imposed would have been materially different had the district court known that the sentencing
21
     guidelines were only advisory. The court is mindful that the burden of proof is on the defendant to prove
22
     the positive of the stated proposition, and the court assumes that the burden is by a preponderance of the
23
     evidence. Counsel should be mindful that the question at this point is not whether the defendant should
24
     have received a different sentence. Those questions may be addressed if a re-sentencing is ordered.
25
            On review of the aforementioned pleadings, the pre-sentence investigations, and transcripts of the
26
     sentencing, (if available), the court will either grant re-sentencing, deny re-sentencing, or order oral
27
     argument or an evidentiary hearing on whether there should be a re-sentencing.
28
            Such pleadings should be filed not later than January 6, 2006.

     ORDER
     Page - 1
                Case 3:03-cr-05426-RBL       Document 155         Filed 12/13/05      Page 2 of 2



 1          IT IS SO ORDERED.
 2          The Clerk of the Court is instructed to send uncertified copies of this Order to all counsel of record
 3   and to any party appearing pro se at said party’s last known address.
 4          Dated this 13th day of December, 2005.


                                           A
 5
 6
                                           RONALD B. LEIGHTON
 7                                         UNITED STATES DISTRICT JUDGE
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     ORDER
     Page - 2
